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AO 91 (Rev. 08/09) Criminal Complaint FELONY United States Courts
Southern District of Texas
UNITED STATES DISTRICT COURT FILED
for the March 28, 2025
Southern District of Texas, Brownsville Nathan Ochsner, Clerk of Court
United States of America )
v. )
Pedro Cardiel RODRIGUEZ ) Case No. 1:25-MJ-235-01
1977 )
)
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following ts true to the best of my knowledge and belief.

On or about the date(s) of March 27, 2025 in the county of Cameron in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 933 It shall be untawful for any person to ship, transport, transfer, cause to be transported,

or otherwise dispose of any firearm to another person ar in otherwise affecting
interstate or foreign commerce, if such person knows or has resonable cause to
believe that the use, carrying, or possession of a firearm by the receipient would
consitute a felony.

18 U.S.C. § 554 Knowingly exports or attempts to export any merchandise, article, or object contrary to
any law or regulation of teh United States.

This criminal complaint is based on these facts:
See attached affidavit.

Mf Continued on the attached sheet.

Complaint authorized by AUSA Victoria Aranda Kaywmeunctle Gain

Submitted by reliable electronic means, sworn to and “Complainant's signature
attested to telephonically per Fed. R. Cr. P.4.1, and
probable cause found on: Raymundo Gutierrez, Task Force Officer ATF

Printed name and title

Date: 03/28/2025 Kanon Doct On art

Judge 's Signature

City and state: Brownsville, Texas Karen Betancourt, United States Magistrate Judge
Printed name and fitle

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AO 91 (Rev. 02/09) Criminal Complaint

ATTACHMENT A
1;25-MJ-235-01

1. This affidavit is intended to show that there is probable cause to believe that on or about March 27, 2025,
Pedro Cardiel RODRIGUEZ attempted to transport a firearm described as a Taurus, G3C model, 9 mm
pistol bearing serial number AGB014342 and 1,852 rounds of ammunition to Mexico through the
Brownsville Gateway International Bridge in Brownsville, Texas, in violation of 18 USC§ 933-Trafficking

In Firearms and 18 USC 554-Smuggling Goods From the United States.

2. On March 27, 2025, RODRIGUEZ completed a Firearms Transaction Record (ATF Form 4473) for the
aforementioned firearm at Federal Firearms Licensee (FFL), Cash America Pawn, located at 124 Security
Drive, Brownsville, Texas, On the ATF Form 4473, RODRIGUEZ answered "yes" to question 21.a.,
documenting that RODRIGUEZ was the actual purchaser of the pistol. Upon completing this form,

RODRIGUEZ obtained the pistol from Cash America Pawn.

3. Your affiant conducted surveillance of RODRIGUEZ outside of the FFL and saw RODRIGUEZ carrying
in his hands a black box, appearing to be a firearm case from the store to his white 2004 Chevrolet
Silverado located in the parking lot. Your affiant continued surveillance and followed RODRIGUEZ as he
attempted to exit the country into Mexico.

4. Your affiant conducted an interview of RODRIGUEZ who freely and voluntarily stated that he was not the
actual purchaser of the rifle, and that he purchased the pistol on behalf of an individual in Mexico.
RODRIGUEZ stated he made a downpayment for the firearm at the FFL and later received the total amount
for the firearm from an individual in Mexico. Once RODRIGUEZ obtained the firearm from the FFL, he

agreed to transport and deliver the pistol to the individual in Mexico.

6. RODRIGUEZ stated he did not have a license to export goods to Mexico.

7. Your affiant submits that the facts set forth in this affidavit to establish probable cause to believe that
RODRIGUEZ committed a violation of Title 18 USC § 933 and 18 USC § 554.

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0 v a

Task Force Officer Raymundo Gutierrez

Bureau of Alcohol, Tobacco, Firearms and Explosives

SUBMITTED BY RELIABLE ELECTRONIC MEANS,

SWORN TO AND SIGNATURE ATTESTED
AS PER FED. RULES CR. PROC. 4.1

Karent Betancourt, United States Magistrate Judge

Date: 3/28/2025
